Case 1:19-cv-00904-ADC Document 22 Filed 06/21/19 Page 1 of 7

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

TESSA MARKETTI, ef al.,
Plaintiffs,
Civil Action No. ADC-19-0904

V5.

THE CORDISH COMPANIES,
INC., et al,

Defendants.

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MEMORANDUM OPINION

Defendants, The Cordish Companies, Inc. and Luckie’s Baltimore, LLC, move this Court
to compel arbitration of all claims brought by Plaintiffs, Tessa Marketti, Steve Ortiz, Angela
Boughner, April Gischel, and Kelsey Schultz, and to dismiss the action pursuant to the Federal
Arbitration Act (“FAA”), 9 U.S.C. § 1 ef seg. (the “Motion to Compel Arbitration and to Dismiss
the Litigation”) (ECF No. 18). After considering the Motion, Defendants’ supplemental
memorandum in support of tts Motion (ECF No. 19), and the responses thereto (ECF Nos. 20, 21),
the Court finds that no hearing is necessary. See Loc.R. 105.6 (D.Md. 2018). For the reasons
stated herein, the Court GRANTS Defendants’ Motion to Compel Arbitration and to Dismiss the
Litigation.

FACTUAL BACKGROUND

This lawsuit arises out of Plaintiffs’ allegations of improper wage payment by Defendants
in violation of the Fair Labor Standards Act (“FLSA”), Internal Revenue Code (“IRC”), Maryland
Wage and Hour Law (“MWHL”), and Maryland Wage Payment and Collection Law (“MWPCL”).

ECF No. 1. The Cordish Companies, Inc. owns and operates a series of entertainment districts

 
Case 1:19-cv-00904-ADC Document 22 Filed 06/21/19 Page 2 of 7

nationwide, including Power Plant Live! in Baltimore, Maryland. Jd. at 5,6. Power Plant Live!
is comprised of several bars and restaurants, including Luckie’s Baltimore, LLC which operates
under the name Luckie’s Tavern. Jd. §{ 7-8. Plaintiffs are former bartenders that were employed
at Luckie’s Tavern or one of the other bars operated by Defendants at Power Plant Live! for various
periods of time between.2015 and 2019. fd at 6, 8, ff 17-19, 36-39; ECF Nos. 8, 12.

Upon commencing employment with Defendants, Plaintiffs entered into a Mutual
Agreement to Arbitrate (the “Agreement”). ECF No. 18-2; ECF Nos. 19-3, 19-4. As part of the
Agreement, Plaintiffs agreed to a broad arbitration provision, which states in relevant part:

[Both you and [Defendants] each agree that all Claims, as defined
below, between you and [Defendants] will be exclusively decided
by arbitration before a neutral arbitrator and not a court or jury.

As used in this Agreement, “Claims” means all disputes between
you and [Defendants] that could be brought in court, including but
not limited to, all claims arising out of your employment and the
cessation of employment including any claim that could have been
presented to or could have been brought before any court, and
includes, but is not limited to, any claim arising under federal, state
or local law, under a statute such as Title VII of the Civil Rights Act
of 1964, the Age Discrimination in Employment Act, the Fair Labor
Standards Act, the Family and Medical Leave Act, the Americans
with Disabilities Act of 1990, Section 1981 through 1988 of Title 42
of the United States Code; under any rule, regulation, statute,
common law, or contract, including, but not limited to any claim of
discrimination, sexual harassment, retaliation, breach of contract,
defamation, or wrongful discharge. This Agreement is governed by
the Federal Arbitration Act, to the maximum extent permitted by
applicable law.

ECF No. 18-2 at 2. Plaintiffs also agreed to waive their right to pursue any class action or collective
action as well as their right to a jury trial. /d. at 3 (“The parties agree all Claims must be pursued
on an individual basis only. By signing this Agreement, you waive your right to commence, or be
a party to, any class action or collective action or to bring jointly any Claims against [Defendants]

with any other person. By signing this Agreement, you waive your right to [a] jury trial.”’).
Case 1:19-cv-00904-ADC Document 22 Filed 06/21/19 Page 3 of 7

During their respective periods of employment, Plaintiffs allege that Defendants: (1)
required Plaintiffs to perform non-tipped work that was “wholly unrelated” to their occupation and
failed to pay them the applicable minimum wage for such work, ECF No. 1 at 9-10, ff] 43-50; (2)
required Plaintiffs to perform non-tipped work that exceeded twenty percent of their time each
week and failed to pay them the applicable minimum wage for such work, id; (3) failed to pay
Plaintiffs the correct amount of overtime, id. at 10, § 51; and (4) operated an “illegal tip sharing
arrangement”? and, as a result, knowingly filed fraudulent W-2 forms to the IRS, id at 4, 10-14,
1 52-72.

PROCEDURAL BACKGROUND

On March 27, 2019, Plaintiffs filed suit in this Court, proposing a FLSA collective action
on behalf of themselves and other similarly situated bartenders as well as class action claims for
violations of the IRC, MWHL, and MWPCL pursuant to Federal Rule of Civil Procedure 23 on
behalf of themselves and other current and former bartenders employed with Defendants. Id. at

14-20, #9] 77-116.7

 

1 According to Plaintiffs, Defendants regularly staffed “guest bartenders” to tend bar at its facilities
during special events and, because they were not actual employees of Defendants, the guest
bartenders were not assigned register identification numbers in Defendants’ point-of-sale system.
ECF No. 1 at 11, f{ 53-58. Therefore, in order to conduct transactions, the guest bartenders
entered their sales and tips under Plaintiffs’ and other similarly situated employees’ register
identification numbers, which then incorrectly attributed all sales and tips to Plaintiffs and other
employees. /d. at 11-12, § 58,61. At the end of the evening, Defendants allegedly paid the guest
bartenders “under the table” and then required the employees and guest bartenders to split tips
evenly. fd. at 12, 4] 59-60. Asa result, Plaintiffs and other similarly situated employees regularly
earned less compensation than was reported on their earning statements. fd. at 4, 12-13, {4 62-
66. Nevertheless, Defendants knowingly filed these statements with the IRS and caused fraudulent
W-2 forms to be issued. Jd. J] 66, 68, 71.

* In accordance with Standing Order 2018-04 of the United States District Court for the District of
Maryland and upon consent of all parties, this case was directly assigned to United States
Magistrate Judge A. David Copperthite for all proceedings. ,

3
 

Case 1:19-cv-00904-ADC Document 22 Filed 06/21/19 Page 4 of 7

On May 2, 2019, Defendants filed the Motion to Compel Arbitration and to Dismiss the
Litigation, ECF No. 18. Plaintiffs filed an opposition on May 16, 2019, ECF No. 20, and
Defendants replied on May 30, 2019, ECF No. 21. This matter is now fully briefed, and the Court
has reviewed Defendants’ Motion to Compel Arbitration and to Dismiss the Litigation, as well as
the responses thereto. For the following reasons, Defendants’ Motion to Compel Arbitration and
to Dismiss the Litigation (ECF No. 18) is GRANTED.

DISCUSSION
A. Standard of Review for Motion to Compel Arbitration

“The standard of review on a motion to compel arbitration under the [FAA] is ‘akin to the
burden on summary judgment,’” Taccino v. Ford Motor Co., No. GLR-18-913, 2019 WL
1429263, at *3 (D.Md. Mar. 29, 2019) (quoting Novic v. Midland Funding, LLC, 271 F.Supp.3d
778, 782 (D.Md. 2017}). Pursuant to Rule 56, a movant is entitled to summary judgment where
the pleadings, depositions, answers to interrogatories, and admissions on file, together with the
affidavits, if any, show that there is no genuine dispute as to any material fact. Fed.R.Civ.P. 56(a);
see Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986).

. In determining whether a genuine issue of material fact exists, the court views the facts and
draws all reasonable inferences in the light most favorable to the nonmoving party. Glynn v. EDO
Corp., 710 F.3d 209, 213 (4th Cir. 2013) (citing Bonds v. Leavitt, 629 F3d 369, 380 (4th Cir.
2011)). A genuine issue of material fact exists if “there is sufficient evidence favoring the
nonmoving party for a jury to return a verdict for that party.” Res. Bankshares Corp. v. St. Paul
Mercury Ins. Co., 407 F.3d 631, 635 (4th Cir. 2005) (quoting Anderson v. Liberty Lobby, Inc., 477
U.S. 242, 249 (1986)). Thus, “to grant summary judgment the [c]ourt must determine that no

reasonable jury could find for the nonmoving party on the evidence before it.” Moss v. Parks
Case 1:19-cv-00904-ADC Document 22 Filed 06/21/19 Page 5 of 7

Corp., 985 F.2d 736, 738 (4th Cir. 1993) (quoting Perini Corp. v. Perini Constr., Inc., 915 F.2d
121, 124 (4th Cir. 1990)), “In the context of a motion to compel arbitration under the FAA, ‘the
party seeking a jury trial must make an unequivocal denial that an arbitration agreement exists—
and must also show sufficient facts in support.’” Taccino, 2019 WL 1429263, at *3 (quoting
Chorley Enters., Inc. v. Dickey’s Barbecue Rests., Inc., 807 F.3d 553, 564 (4th Cir. 2015)).

B. Defendants’ Motion to Compel Arbitration and to Dismiss the Litigation

Defendants seek to compel arbitration of Plaintiffs’ claims in accordance with the
Agreement and also ask this Court to dismiss the action pursuant to the FAA. ECF No. 18.
Notably, Plaintiffs do not oppose Defendants’ request to compel arbitration. ECF No. 20 at 1.
Plaintiffs do, however, oppose dismissal of the action and demand a stay of the proceedings
pending the outcome of arbitration. Jd. at 1-2.

The FAA “provides for the enforceability of arbitration agreements and specifies
procedures for conducting arbitrations and enforcing arbitration awards.” McCormick v. Am.
Online, Inc., 909 F.3d 677, 678 (4th Cir. 2018). Section 2 of the FAA mandates that “an agreement
in writing to submit to arbitration an existing controversy arising out of such a contract, transaction, |
or refusal, shall be valid, irrevocable, and enforceable,” with limited exceptions. 9 U.S.C. § 2
(2018). And, as is relevant here, Section 3 “requires a district court, upon motion by any party, to
stay judicial proceedings involving issues covered by written arbitration agreements.” Choice
Hotels Intern., Inc. v. BSR Tropicana Resort, Inc., 252 F.3d 707, 709 (4th Cir. 2001) (citing 9
USS.C. § 3).

The United States Court of Appeals for the Fourth Circuit has stated that

‘application of the FAA requires demonstration of four elements:
(1) the existence of a dispute between the parties, (2) a written

agreement that includes an, arbitration provision which purports to
cover the dispute, (3) the relationship of the transaction, which is

 
Case 1:19-cv-00904-ADC Document 22 Filed 06/21/19 Page 6 of 7

evidenced by the agreement, to interstate or foreign commerce, and

(4) the failure, neglect or refusal of the defendant to arbitrate the

dispute.’
Galloway vy. Santander Consumer USA, Inc., 819 F.3d 79, 84 (4th Cir. 2016) (quoting Rota-
McLarty v. Santander Consumer USA, Inc., 700 F.3d 690, 696 n.6 (4th Cir. 2012)) (internal
quotation marks omitted). It is undisputed that these elements are satisfied in the instant case.
Thus, the only question for the Court to consider is whether this matter should be dismissed or
stayed pending the outcome of arbitration.

Although Section 3 of the FAA requires a district court to stay judicial proceedings
involving issues covered by written arbitration agreements, the Fourth Circuit has held that a stay
is not the sole remedy available. Choice Hotels Intern., Inc., 252 F.3d at 709-10. In Choice
Hotels, the Fourth Circuit recognized that, “[njotwithstanding the terms of § 3 [of the FAA,]...
dismissal is a proper remedy when all of the issues presented in a lawsuit are arbitrable.” fd More
recently, however, the Fourth Circuit has noted “some tension” between its decision in Choice
Hotels and its prior decision in Hooters of America, Inc. v. Phillips, where it “indicat[ed] that a
stay is required when the arbitration agreement ‘covers the matter in dispute.’” Aggarao v. MOL
Ship Mgmt. Co., 675 F.3d 355, 376 n.18 (4th Cir. 2012) (quoting Hooters of America, Inc. v.
Phillips, 173 F.3d 933, 937 (4th Cir. 1999).

“[D]espite the ‘disagreement within the Fourth Circuit[,] . . . district courts within the
Fourth Circuit have continued to find dismissal appropriate.’” Stone v. Wells Fargo Bank, N.A.,
361 F.Supp.3d 539, 558 (D.Md. 2019) (quoting Taylor v. Santander Consumer USA, Inc., DKC
15-0442, 2015 WL 5178018, at *7 n.3 (D.Md. Sept. 3, 2015)). Indeed, in two recent opinions, this
Court has followed Choice Hotels and dismissed cases where all claims were arbitrable. Taccino,

2019 WL 1429263, at *4—5; Stone, 361 F.Supp.3d at 557-58. To support their request for a stay,
Case 1:19-cv-00904-ADC Document 22 Filed 06/21/19 Page 7 of 7

Plaintiffs cite another recent opinion, Guanyu Li v. StockX.com, in which this Court opted to stay
proceedings in light of the tension in the Fourth Circuit. 349 F.Supp.3d 517, 526 (D.Md. 2018).
However, as Defendants correctly note, the decision in Guanyu Li acknowledges that “either
disposition might be justified.” Jd.

In the instant case, because all of Plaintiffs’ claims are subject to arbitration pursuant to the
Agreement, this Court finds that “no useful purpose will be served by staying the pertinent
proceedings pending arbitration” and that dismissal is the appropriate remedy. Taylor, 2015 WL
5178018, at *7 (citation omitted).

CONCLUSION
In conclusion, for the reasons stated herein, Defendants’ Motion to Compel Arbitration

and to Dismiss the Litigation (ECF No. 18) is GRANTED. A separate Order will follow.

Date: [7 A x
A. David Copperthite
United States Magistrate Judge
